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CARTESIAN THEATRE CORR
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                                                                      NORTH DISi'RICT OF CAUFORNfA
Pro Se Defendant                                                            OAKI AWn ORFIOF



                                UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
                                       Division; Oakland




COHESITY, INC.,                                CASE NO.4;24-CV-9104


                   Plaintiff,                  [PROPOSED] ORDER GRANTING
                                               DEFENDANT CARTESIAN THEATRE
       V.                                      CORP.’S MOTION TO STAY


CARTESIAN THEATRE CORP., and                   Judge. Hon. Jon S. Tigar
DOES 1 - 25


                   Defendant




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Having read and considered Defendant CARTESIAN THEATRE CORR’s Motion to Stay, its

corresponding Request for Judicial Notice, any opposition to the motion, and any reply and oral

argument the Court has entertained, tlie Court hereby GRANTS the motion.

It is therefore ORDERED as follows;


   1. The Court GRANTS Defendant’s Request for Judicial Notice of Exliibits A-G in Support

         of Defendants’ Motion to Stay.

   2.    The Court GRANTS Defendant’s Motion to Stay the instant case pending the resolution

         of Federal Court of Canada Court File No T-2636-24.


   3.    The Court hereby places this action in inactive status and DIRECTS the Clerk to close

         the case administratively.

IT IS SO ORDERED




               Dated:
                                                     HON. JON S. TIGAR
                                                     UNITED STATES DISTRICT JUDGE




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